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                          UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION




                                                     Challenge to
  JENNIFER COUSINS, et al.,
                                                     Constitutionality of
                                                     § 1001.42(8)(c) Fla. Stat.
                       Plaintiffs
                                                     (2022)
  v.
                                                     Preliminary Injunctive Relief
                                                     Requested
  SCHOOL BOARD OF ORANGE
  COUNTY, FLORIDA, et al.,
                                                     Case No.: 6:22-cv-01312-
                                                     WWB-LHP
                       Defendants.




                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                           AND MEMORANDUM OF LAW

        Pursuant to Federal Rule of Civil Procedure 65 and Local Rule 6.02, Plaintiffs, by

 and through undersigned counsel, move for an Order enjoining Defendants from

 enforcing or taking action to enforce Fla. Stat. § 1001.42(8)(c) (2022) (“HB 1557”).

        1.     Plaintiffs challenge HB 1557 because it violates the First and Fourteenth

 Amendments by infringing Plaintiffs’ freedom of speech and depriving Plaintiffs of due

 process and equal protection.

        2.     Plaintiffs’ claims are likely to succeed on the merits.

        3.     First, HB 1557 impermissibly chills the exercise of all Plaintiffs’

 constitutionally protected speech and expression, based on content and viewpoint, and

 is overbroad, in violation of the First Amendment. ECF 1 ¶¶ 104-119. Second, HB 1557

 is unconstitutionally vague, as it infringes upon Plaintiffs’ constitutionally protected right

 to free speech and provides inadequate notice of the conduct it purports to prohibit, in


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 violation of the Due Process Clause of the Fourteenth Amendment. Id. ¶¶ 120-128. Third,

 HB 1557 discriminates against Plaintiff students and parents on the basis of sex in

 violation of the Equal Protection Clause of the Fourteenth Amendment. Id. ¶¶ 129-137.

        4.    Plaintiff students and parents have engaged in affirming speech and

 expression of the nature prohibited by HB 1557, and wish to continue to do so, but as a

 result of Defendants’ implementation of HB 1557, they have been chilled and/or forced to

 self-censor, and Plaintiff students have been deprived of access to information and ideas.

        5.    Plaintiff CenterLink’s members have engaged in speech that affirms

 students’ sexual orientation and gender identity and wish to continue to do so, but as a

 result of Defendants’ implementation of HB 1557, they have been silenced and prevented

 from communicating information critical to their mission.

        6.    Plaintiffs are denied, and will continue to be denied, equal protection of law

 as the result of Defendants’ implementation of HB 1557, as the statute was enacted with

 the purpose to discriminate and has the effect of discriminating against LGBTQ+ students

 and those with LGBTQ+ family members, subjecting them to differential and adverse

 treatment on the basis of their sex.

        7.    If this Court fails to grant the requested preliminary injunctive relief, Plaintiffs

 and other similarly situated students and parents will be subjected to further loss of their

 constitutional rights. Plaintiffs have already suffered and will face irreparable harm and

 have no adequate remedy at law. The balance of equities and the public interest favor

 granting relief because the irreparable constitutional injuries described above far

 outweigh any marginal burden on Defendants that might result from delaying HB 1557

 from taking effect pending an adjudication on the merits. Governmental entities, including




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 school boards, have no legitimate interest in enforcing an unconstitutional law. An

 injunction will further the public interest in that it will protect and preserve the exercise of

 protected First Amendment activity and ensure equal protection and due process of law.

        8.     A preliminary injunction will maintain the status quo and is consistent with

 the proper mission of public schools: “That they are educating the young for citizenship is

 reason for scrupulous protection of Constitutional freedoms of the individual.” W. Va.

 State Bd. of Educ. v. Barnette, 319 U.S. 624, 637 (1943).

        9.     Plaintiffs request that the Court waive the requirement of bond in Fed. R.

 Civ. P. 65(c). BellSouth Tellecomm., Inc. v. MCIMetro Access Transmission Srvcs., LLC,

 425 F.3d 964, 971 (11th Cir. 2005) (whether to require bond is within court’s discretion).

 Public interest litigation is a recognized exception to the bond requirement, especially

 where, as here, requiring a bond would injure the constitutional rights of Plaintiffs and the

 relief sought would not pose a hardship to government Defendants. See Univ. Books &

 Videos, Inc. v. Metro. Dade Cnty., 33 F. Supp. 2d 1364, 1374 (S.D. Fla. 1999).

        WHEREFORE, Plaintiffs move this Honorable Court for an Order preliminarily

 enjoining Defendants from enforcing Fla. Stat. § 1001.42(8)(c)(2022) because it violates

 the First and Fourteenth Amendments of the U.S. Constitution.



                                  MEMORANDUM OF LAW

 I. INTRODUCTION AND FACTUAL BACKGROUND

        HB 1557, by design, deters speech by and about lesbian, gay, bisexual,

 transgender, queer, and questioning (“LGBTQ+”) people in schools. To achieve this end,

 the law employs undefined terms that restrict an absurdly broad scope of speech and

 activity, casting a broad chilling effect and leaving school officials to draw arbitrary and


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 discriminatory lines in their attempts to implement the law. The law combines this vague

 text with a private right of action that empowers parents to sue the school district directly

 if they are dissatisfied with where the school has drawn that line. The impact of HB 1557

 has been immediate and severe, and significant constitutional harm will persist absent

 injunctive relief to restore the status quo ante.

        A. HB 1557 Was Enacted with Intentionally Undefined Terms

        HB 1557, which took effect on July 1, 2022, prohibits any “[c]lassroom instruction”

 regarding “sexual orientation or gender identity” for children in kindergarten through grade

 3, or that is “in a manner that is not age-appropriate or developmentally appropriate” for

 other grades. Fla. Stat. § 1001.42(8)(c)(3). It also requires parental notification for

 changes in student services related to a student’s “well-being” and imposes requirements

 regarding “encourag[ing]” or “discourag[ing]” students to discuss their well-being with their

 parents. Id. § 1001.42(8)(c)(1)-(2). The law fails to define any of these terms.

        The law also encourages schools to err on the side of broad censorship by

 empowering any parent to sue a school district and collect attorney’s fees and costs if

 they are dissatisfied with the district’s implementation of the law, while denying districts a

 reciprocal right if they are successful. Id. § 1001.42(8)(c)(7).

        The legislative history shows that legislators understood and intended that schools,

 children, teachers, and parents would interpret “sexual orientation” and “gender identity”

 to mean “mention of LGBTQ+ people.” During debate on the bill, one Republican

 legislator proposed an amendment to replace those terms with “human sexuality” and




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 “sexual activity.” Amendment 546314. 1 He explained, “if the intent of this bill isn’t to

 marginalize anyone, let’s make sure we aren’t by passing this amendment.” Ex. 11,

 Transcript: Hearing on H.B. 1557 Before the S. Comm. on Appropriations, 2022 Leg. R.

 Sess. 52-53 (Fl. Feb. 28, 2022) (statement of Sen. Jeff Brandes, Comm. Member). HB

 1557’s sponsor responded that this change “would significantly gut the effort of the bill,”

 and the amendment failed. Id. at 66 (statement of Sen. Dennis Baxley, Comm. Member).

 The legislature also rejected an amendment clarifying that “sexual orientation” includes

 heterosexuality. Amendment 290096. Lawmakers rejected amendments to specify that

 the law did not bar discussions between students. Amendments 734244 and 600607.

 Perhaps most alarmingly, a proposed amendment to specify that the law did not prevent

 discussion of families or “bullying prevention” also failed. Amendment 755282.

        B. HB 1557’s Implementation Targets Speech, Services, and Safety for
        LGBTQ+ Students and Families

       Predictably, the law’s design has placed its chilling effect squarely on the shoulders

 of LGBTQ+ young people and families. For example, Duval County Public Schools

 (“DCPS”), School District of Indian River County (“SDIRC”), and School District of Palm

 Beach County (“SDPBC”) have all reduced or eliminated LGBTQ+ student support guides

 and LGBTQ+ anti-bullying guidance for grades K-12.            2   In SDPBC, professional

 development workshops on LGBTQ+ issues were suspended and, in many districts,



 1
  All amendments available at https://www.flsenate.gov/Session/Bill/2022/1557/?Tab=
 Amendments.
 2
   Ex. 4, Watson Decl. ¶¶ 19-20; School Board of Duval County, Workshop on Student
 Support Guide Update, (May 17, 2022), https://duvalcosb.civicclerk.com/Web/Player
 .aspx?id=2632&key=-1&mod=-1&mk=-1&nov=0; Ex. 3, Dinan Decl. ¶ 13; Ex. 8, Woods
 Decl. ¶ 25; Ex. 6, Seaver Decl. ¶ 24.



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 books with LGBTQ+ characters for students in K-12 have been removed or are being

 reviewed under HB 1557.3 Teachers have been encouraged to avoid anything that might

 generate discussion about LGBTQ+ people and have been chilled from supporting

 LGBTQ+ students and student groups. 4 And, organizations that have traditionally

 provided LGBTQ+ training and other services to schools are being blocked from

 completing their work.5 Equivalent support guides, trainings, and services for non-LGBTQ

 students have not been targeted under HB 1557.

          Defendants are issuing rapidly-changing guidance under the law, illustrating its

 ambiguity and amplifying the resulting confusion. For example, in June 2022, Orange

 County Public Schools (“OCPS”) sent out guidance for teachers recommending that they

 remove, among other things, safe space stickers (symbols on classroom doors or walls

 that signal LGBTQ+ people will be safe and supported) from K-3 classrooms “so that

 classroom instruction did not inadvertently occur on the prohibited content of sexual

 orientation or gender identity.” Ex. 1, Attach. 2, Camp Legal Clarifications. OCPS later

 provided additional “guidance” via a memo to district leadership, which quotes from the

 legal arguments made in the state’s Motion to Dismiss filed in case 4:22-cv-00134 (N.D.


 3
   Ex. 6, Attach. 2, Palm Beach County Instructional Guidance for Legislative Compliance
 (July 21, 2022) and Ex. 9, Indian River County Classroom Library Selection Form for
 Instructional Staff (August 4, 2022), (both SDPBC and SDIRC forms instruct that books
 where a character “questions” their sexual orientation or gender identity must be
 reviewed); Ex. 1, Attach. 1, OCPS Legislative Updates, May 2022 (instructing that books
 that “make written or pictorial reference” to sexual orientation or gender identity are
 prohibited from being accessible, including to check out for reading outside of the
 classroom); Ex. 8, Woods Decl. ¶¶ 16, 19; Ex. 6, Seaver Decl. ¶ 25; Ex. 1, Cousins Decl.
 ¶¶ 7, 14.
 4Ex. 1, Attach. 2, Camp Legal Clarifications, June 2022 (avoid discussion); Ex. 8, Woods
 Decl. ¶ 17 (avoid discussion); Ex. 4, Watson Decl. ¶ 18 (student group advisors chilled).
 5   Ex. 4, Watson Decl. ¶¶ 15-18, 22.


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 Fla., 2022), providing an interpretation inconsistent with OCPS’ prior guidance. Ex. 10.

 Because the law’s chilling effect is sustained by its vague text and vigilante enforcement

 structure, injunctive relief remains necessary to stem these harms in the midst of these

 evolving voluntary state interpretations.

       C. Plaintiffs Have Been Harmed by HB 1557

       Plaintiffs Jen and Matt Cousins are a different-sex married couple of 15 years

 whose four children, N.C., S.C., M.C., and P.C., all attend OCPS schools. In the first week

 of the school year, seventh grader S.C., who is gender non-binary, has already been

 bullied about their gender identity more intensely than ever in the past. Ex. 1, Cousins

 Decl. ¶ 9. They fear that bullying will continue to increase as long as HB 1557 remains in

 effect. Id. ¶¶ 9, 23. S.C. also fears that critical lifelines, such as their school’s LGBTQ+

 student group, will be impacted by HB 1557, id. ¶¶ 6, 23, a reasonable fear, as teachers

 have already been told to remove safe-space stickers and have been chilled from serving

 as sponsors of these groups since HB 1557’s enactment. See, e.g., Ex. 1, Attach. 2,

 Camp Legal Clarifications; Ex. 4, Watson Decl. ¶ 18; Ex. 8, Woods Decl. ¶¶ 17, 29. Jen

 and Matt are struggling to provide guidance to their other children about what they can

 and cannot say about their non-binary sibling S.C. in class and worry that their youngest

 two children, in first and third grades, will be prevented from completing assignments

 about their family and made to feel shame if their teacher deems their family too

 “inappropriate” for discussion. Ex. 1, Cousins Decl. ¶¶ 8, 11; see also Ex. 1, Attach. 2,

 Camp Legal Clarifications (OCPS interpreting discussion as instruction).

       Plaintiff Will Larkins is a high school senior in OCPS. Ex. 2, Larkins Decl. ¶ 2. Will

 identifies as gay and non-binary and is the president and co-founder of his school’s Queer




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 Student Union. Id. Following enactment of HB 1557, Will created and delivered a

 presentation on the Stonewall riots to his class on the significance of the uprising to

 LGBTQ+ history. Id. ¶¶ 10-11. After Will’s history teacher complained to administrators,

 school officials placed Will under “investigation.” Id. ¶¶ 12-13. Will now fears additional

 consequences if he speaks out again about anything that may be related to LGBTQ+

 people or history at school. Id. ¶ 19.

        Plaintiffs David and Vik are a same-sex married couple with two children, K.R.D.

 and R.R.D., a fourth grader and third grader, respectively, both of whom attend schools

 within SDIRC. Ex. 3, Dinan Decl. ¶¶ 2, 5. Since HB 1557’s enactment, David and Vik

 have advised their children not to discuss their parents’ relationship and have censored

 their own speech and expression when they attend school events. Id. ¶¶ 7-10. For

 example, Plaintiff R.R.D. loved the energy of the London Pride parade he attended with

 his brother and dads this summer, and he was excited to tell his third-grade class about

 it when he got back to school. Id. ¶ 8. His dads struggled to prepare and protect R.R.D.

 before sending him into his new classroom. If R.R.D. told his class about the parade, and

 especially if it generated questions, the discussion could be shut down by the teacher

 (consistent with guidance that teachers avoid anything that might generate discussion

 about sexual orientation, Ex. 1, Attach. 2). This would be confusing and harmful to a child

 who is proud of his family, so they suggested that he skip this portion of their family story.

 Id. ¶ 8. Previously, the teacher might have responded with a simple affirming statement

 about everyone having different families who love them, which is okay. They do not want

 their kids to suffer the shame of a teacher having to silence discussion of their family

 instead. Id.




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        Plaintiff CenterLink is a member-based coalition that supports the development of

 sustainable LGBTQ+ community centers across the country, including the Orlando Youth

 Alliance (“OYA”), Compass Community Center (“Compass”), and the Jacksonville Area

 Sexual Minority Youth Network (“JASMYN”). Ex. 7, Spivak Decl. ¶¶ 4, 5, 13. HB 1557

 already has directly obstructed services performed by these organizations for students

 and schools within Defendants’ districts. Ex. 4, Watson Decl. ¶¶ 15-18; Ex. 6, Seaver

 Decl. ¶ 26; Ex. 8, Woods Decl. ¶ 17.

        In Orange County, OYA operates facilitated peer-to-peer counseling sessions for

 LGBTQ+ youth, including those that attend OCPS. Ex. 5, Slaymaker Decl. ¶ 6. Since the

 law’s enactment, attendance at OYA support groups has doubled and staff are struggling

 to meet the needs of youth and parents who have expressed increased anxiety and

 distress as a result of the law. Id. ¶¶ 13-15.

        In Palm Beach County, over 93% of Compass members are enrolled in SDPBC.

 Ex. 6, Seaver Decl. ¶ 8. As a result of HB 1557, some teachers no longer feel comfortable

 referring students to Compass, depriving those LGBTQ+ youth of necessary support

 services. Id. ¶ 26; Ex. 8, Woods Decl. ¶ 17. Even absent those referrals, Compass has

 experienced an increase in demand for its mental health services, resources, and support

 services for parents and local students since passage of HB 1557. Compass needs to

 add two full-time employees to meet the increased demand for therapeutic groups.

 Seaver Decl. ¶¶ 18-19. The trend is likely to continue, as LGBTQ+ youth who do not feel

 safe and affirmed at school, and who in fact are being marginalized and threatened, are




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 more likely to experience depression, anxiety, suicidal ideation, and psychological

 distress, and are more likely to drop out of school. Id. ¶ 20.6

        In Duval County for at least the last nine years—including the last four years under

 a federally funded grant from the Centers for Disease Control and Prevention’s Division

 of Adolescent and School Health (“DASH grant”)—JASMYN has provided subcontracted

 services to DCPS in its areas of expertise, including teacher training; advice on student

 support and anti-bullying policies; development and support for student LGBTQ+ clubs;

 and acceptance of referrals for support, housing, and health and wellness services. Ex.

 4, Watson Decl. ¶¶ 9-10, 12, 14. Upon enactment of HB 1557, DCPS cancelled meetings

 that are part of JASMYN’s DASH grant responsibilities and are necessary to coordinate

 its subcontracted work under the grant for the current school year. Id. ¶¶ 16-17. In

 addition, at least one student referral has been blocked and teacher sponsors of student

 LGBTQ+ groups have been chilled from participating in planning meetings with JASMYN.

 Id. ¶¶ 18, 22.

 II. PLAINTIFFS MEET THE PRELIMINARY INJUNCTION STANDARD

        This Court may issue a preliminary injunction where the movant demonstrates (1)

 a substantial likelihood of success on the merits; (2) that irreparable injury will be suffered

 unless the injunction issues; (3) the threatened injury to the movant outweighs any

 damage the proposed injunction may cause the opposing party; and (4) if issued, the

 injunction would not be adverse to the public interest. Palmer v. Braun, 287 F.3d 1325,


 6For a consensus study report summarizing relevant research, see National Academies
 of Sciences, Engineering, and Medicine, Understanding the Well-Being of LGBTQI+
 Populations, Chapter 9, Educational Environments at 233-34 (bullying), 236-37 (school
 policies); 237-41 (school climate, including teacher training, student clubs, and
 curriculum) (Charlotte J. Patterson, et al. eds., 2020), http://doi.org/10.17226/25877.


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 1329 (11th Cir. 2002).

        A. Plaintiffs Are Likely to Prevail on the Merits

        Plaintiffs are likely to succeed on the merits of their claims as demonstrated below.

 Success on the merits is all the more likely because the enforcement of HB 1557 already

 has resulted in violations of Plaintiffs’ constitutional rights.

                1. Plaintiffs Are Likely to Succeed on the Merits of their Claim that HB
                1557 Violates the First Amendment.


                       a. Targeting LGBTQ+ speech and content for special
                       restriction impermissibly chills and restricts protected speech
                       and expression based on content and viewpoint.

        HB 1557 is a one-sided law that restricts protected speech based on content and

 viewpoint. The law impermissibly chills LGBTQ+ people from engaging in speech

 disclosing their sexual orientation and gender identity and that of their family members

 (i.e., “coming-out speech”) and expressing themselves in a manner consistent with their

 sexual orientation and gender identity, but does not suppress comparable speech and

 expressive conduct by non-gay and non-transgender people in school-related settings. It

 has also been used to target library books and materials that acknowledge LGBTQ

 people.

        HB 1557 targets and chills two forms of protected First Amendment expression.

 First, it chills LGBTQ+ students and parents from disclosing their sexual orientation and

 transgender status by speech such as “I am gay,” “I am transgender,” or “I am a girl.” By

 contrast, a female student who is neither a lesbian nor transgender may disclose these

 facts without consequence. Thus, HB 1557 attaches different consequences to the same

 speech based on who the speaker is, constituting impermissible viewpoint discrimination.

 Police Dep’t of Chicago v. Mosley, 408 U.S. 92, 96 (1972). Second, and equally


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 impermissible, HB 1557 chills speech and gendered expressive conduct that reveals or

 conforms with a person’s sexual orientation and gender identity, even implicitly (e.g., a

 student’s depiction of two same-sex parents in a drawing, or a transgender girl’s choice

 to wear a dress). HB 1557 does not similarly chill speech and conduct that reveal or

 conform to the sexual orientation and gender identity of a heterosexual cisgender person.

 HB 1557 furthers its goal of suppressing speech by inviting people to pursue legal actions

 and recover attorneys’ fees and other penalties against Defendant school districts if they

 do not agree with Defendants’ application of the law, allowing those parents most hostile

 to acknowledgement of the existence of LGBTQ+ people to dictate the scope of the law.

 See Fla. Stat. § 1001.41(8)(c)(7).

       Courts long have held that coming-out speech, including in school settings,

 constitutes protected First Amendment activity. See, e.g., Gay Students Org. of Univ. of

 N.H. v. Bonner, 509 F.2d 652 (1st Cir. 1974) (student speech); Henkle v. Gregory, 150 F.

 Supp. 2d 1067, 1075-77 (D. Nev. 2001) (same); Weaver v. Nebo Sch. Dist., 29 F. Supp.

 2d 1279, 1284-85 (D. Utah 1998) (coming-out speech by teacher); Karnoski v. Trump,

 2017 WL 6311305, at *9, vacated by stipulation, Case No. 2:17-cv-01297 (W.D. Wash.,

 Aug. 5, 2019); Log Cabin Republicans v. U. S., 716 F. Supp. 2d 884, 926 (C.D. Cal. 2010),

 vacated as moot, 658 F.3d 1162 (9th Cir. 2011). Expression of gender identity through

 one’s appearance also is protected expression. See Doe ex rel. Doe v. Yunits, 2000 WL

 33162199, at *3 (Mass. Super. Oct. 11, 2000).

       “It is axiomatic that the government may not regulate speech based on its

 substantive content or the message it conveys.” Rosenberger v. Rector & Visitors of Univ.

 of Va., 515 U.S. 819, 828 (1995). Content-based regulation is subject to “the most




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 exacting scrutiny.” Texas v. Johnson, 491 U.S. 397, 412 (1989) (citation omitted). Such

 enactments “are presumptively unconstitutional and may be justified only if the

 government proves that they are narrowly tailored to serve compelling state interests.”

 Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015).

        “When the government targets particular views taken by speakers on a subject and

 not the subject matter, the First Amendment violation is all the more blatant.”

 Rosenberger, 515 U.S.at 829. Indeed, “[i]n the ordinary case it is all but dispositive to

 conclude that a law is content based and, in practice, viewpoint discriminatory.” Sorrell v.

 IMS Health, 131 S. Ct. 2653, 2667 (2011) (citing R.A.V. v. City of St. Paul, 505 U.S. 377,

 382, 391–92 (1992)); see also, e.g., Lamb’s Chapel v. Ctr. Moriches Union Free Sch.

 Dist., 508 U.S. 384, 394 (1993) (“‘[T]he First Amendment forbids the government to

 regulate speech in ways that favor some viewpoints or ideas at the expense of others’”)

 (quotations omitted); McCullen v. Coakley, 134 S. Ct. 2518, 2549 (2014) (Alito, J.,

 concurring) (“[I]f the law discriminates on the basis of viewpoint, it is unconstitutional”);

 Good News Club v. Milford Cent. Sch. Dist., 533 U.S. 98,106 (2001).

        Public school students do not “shed their constitutional rights to freedom of speech

 or expression at the schoolhouse gate.” Morse v. Frederick, 127 S. Ct. 2618, 2622 (2007)

 (quoting Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 506 (1969)). Under

 the First Amendment, schools may not restrict student speech merely to avoid

 controversy or to avoid the “discomfort and unpleasantness that always accompany an

 unpopular viewpoint.” Tinker, 393 U.S. at 509. The Constitution allows schools to control

 student speech only in very narrow circumstances, none of which are present here.

 Mahanoy Area School Dist. v. B.L., 141 S. Ct. 2038, 2045 (2021) (noting exceptions for




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 lewd student speech, speech advocating for illegal drug use, and speech bearing the

 imprimatur of the school). Indeed, schools have a strong interest and obligation to protect

 a student’s unpopular expression in particular because “America’s public schools are the

 nurseries of democracy.” Id. at 2046.

       CenterLink’s member centers’ speech also enjoys protection. The centers speak

 with students who seek information about sexual orientation and gender identity, including

 mental health resources and referrals, and they communicate with school district partners

 to create policies to address bullying. Providing training, expert advice or assistance,

 referrals, and other services, as CenterLink member centers do, constitutes protected

 First Amendment activity. Holder v. Humanitarian Law Project, 561 U.S. 1, 27 (2010).

 Communications that impart a specific skill or convey advice based on specialized

 knowledge are a form of pure speech. Id. “An individual’s right to speak is implicated when

 information he or she possesses is subjected to ‘restraints on the way in which the

 information might be used’ or disseminated.” Sorrell v. IMS Health Inc., 564 U.S. 552, 568

 (2011) (quoting Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 (1984)). First Amendment

 protections also cover would-be recipients of such training, advice, and assistance, and

 this right is particularly vital in schools. Kleindiesnst v. Mandel, 408 U.S. 753, 762-63

 (1972).

       HB 1557 also violates Plaintiff students’ First Amendment right to receive

 information and ideas. Schools may not remove books containing LGBTQ+ content from

 school libraries to “prescribe what shall be orthodox in politics, nationalism, religion, or

 other matters of opinion.” Bd. of Educ. v. Pico, 457 U.S. 853, 855 (1982) (quoting W. Va.

 Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943)). “[T]he Constitution protects the right




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 to receive information and ideas,” a right that extends to students with respect to materials

 in a school library. Id. (quoting Stanley v. Georgia, 394 U.S. 557, 564 (1969)). Restrictions

 on this right constitute a cognizable First Amendment injury. Id.

        Here, not only does HB 1557 “cause a reasonable would-be speaker to self-

 censor” because it “objectively chills protected expression,” Speech First, Inc. v.

 Cartwright, 32 F.4th 1110, 1120 (11th Cir. 2022), but Plaintiffs already have been silenced

 and disciplined, have censored themselves or their children, and have lost access to

 library materials that acknowledge the existence of LGBTQ people. See supra, Section

 I(C). It is reasonable that LGBTQ+ students and families could decide they are “better off

 just keeping [their] mouth shut,” given the sheer breadth and ambiguity of the law. See

 Speech First, 32 F.4th at 1122. This is especially true for young students who would not

 want to run the risk of being accused of being “inappropriate” by discussing their LGBTQ+

 families when students discussing their non-LGBTQ+ families would not be. See id. at

 1124 (it is reasonable, even absent direct threat of punishment, that student would not

 want to risk being labeled “offensive”). Because the law lacks even a rational relationship

 to any legitimate interest, let alone the narrow tailoring required in service of a compelling

 interest, see infra Section II(A)(3)(a), it violates the First Amendment.

                      b.     HB 1557 Is Unconstitutionally Overbroad.

        HB 1557 is also overbroad. By prohibiting “classroom instruction” related to “sexual

 orientation or gender identity,” the law creates a “substantial risk” that it “will have an

 impermissible chilling effect on protected speech.” FF Cosmetics FL, Inc. v. City of Miami

 Beach, 866 F.3d 1290, 1302 (11th Cir. 2017) (citing Broadrick v. Oklahoma, 413 U.S.

 601, 612-13 (1973)). To determine whether a law is overbroad, “a court should evaluate

 the ambiguous as well as the unambiguous scope of the enactment [because] ambiguous


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 meanings cause citizens to steer far wider of the unlawful zone than if the boundaries of

 the forbidden areas were clearly marked.” Am. Booksellers v. Webb, 919 F.2d 1493,

 1505-06 (11th Cir. 1990) (internal quotations omitted). Such a chilling effect already has

 occurred. In addition to the struggles Plaintiffs are facing regarding whether they can

 speak about themselves and their families, see supra Section I(C), students have

 reported that they are unsure if they can use their own pronouns or if they can report

 bullying based on their LGBTQ+ identity. Ex. 8, Woods Decl. ¶¶ 8, 29. They don’t know.

 The law’s vagueness and “imprecision exacerbates its chilling effect.” Speech First, 32

 F.4th at 1121; see infra Section II(A)(2).

               2. Plaintiffs Are Likely to Succeed on their Claim that HB 1557 Is
               Unconstitutionally Vague.

        The Fourteenth Amendment to the U.S. Constitution provides that no state shall

 “deprive any person of life, liberty, or property, without due process of law.” U.S. Const.

 Amend. XIV. A law that “fails to provide people of ordinary intelligence a reasonable

 opportunity to understand what conduct it prohibits” or “authorizes or even encourages

 arbitrary and discriminatory enforcement” is vague and violates the Fourteenth

 Amendment. Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1319-20 (11th Cir. 2017)

 (en banc); see Dream Defs. v. DeSantis, 2021 WL 4099437, at *27 (N.D. Fla. Sept. 9,

 2021) (enjoining law because “an individual of ordinary intelligence could read the

 [statute] and not be sure of its real-world consequence”). “‘When speech is involved,

 rigorous adherence to [notice and precision] requirements is necessary to ensure that

 ambiguity does not chill protected speech.’” Id. at 1320 (quoting FCC v. Fox Television

 Stations, Inc., 567 U.S. 239, 253-54 (2012)). “Content-based regulations thus require ‘a

 more stringent vagueness test,’” id. (quoting Vill. of Hoffman Est. v. Flipside, Hoffman



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 Est., Inc., 455 U.S. 489, 499 (1982), to ensure that the government regulates protected

 speech “only with narrow specificity,” id. (quoting NAACP v. Button, 371 U.S. 415, 433

 (1963)).

        As noted above, many critical terms in the statute are undefined and subject to

 multiple interpretations. Indeed, Defendants and other school districts have issued

 conflicting guidance for the proposed interpretation of the law. 7 The law’s unworkable

 vagueness is perhaps most evident in its use of the term “classroom instruction,” which

 could refer solely to in-classroom lessons, class assignments, or books selected by the

 teacher. The preamble to HB 1557, however, describes the law as “prohibiting classroom

 discussion about sexual orientation or gender identity” (emphasis added). This, along with

 the failure of several amendments that sought to exclude student speech and questions

 and responses to student questions from the law’s scope, has left the language

 susceptible to an interpretation that “classroom instruction” covers activity beyond lesson

 plans, instructions, or assignments. See Reno v. Am. Civ. Liberties Union, 521 U.S. 844,

 871 n.37 (1997) (in holding statute unconstitutionally vague, court cited absence of

 statutory definitions and Congress’s rejection of clarifying, limiting amendments). As

 discussed above, supra Section I(B), some Defendants have interpreted “classroom

 instruction” to include the provision of library books and have removed LGBTQ+ library

 materials.8

        If one sets aside, for a moment, the reality that this law targets LGBTQ+ people


 7
  See, e.g., ECF 1 ¶ 30 n.3 (describing Defendants’ conflicting definitions of “sexual
 orientation or gender identity”); supra Section I(B) (discussing conflicting guidance).
 8
  For instance, in May 2022, SDPBC removed several books that feature transgender
 characters (and do not discuss sexually explicit topics) from school libraries. Ex. 6, Attach.
 1, SDPBC Memos, May 2022.


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 and content, the text on its face restricts an absurdly broad scope of speech and activity.

 A prohibition on “classroom discussion” of “gender identity,” taken at face value, could

 plausibly foreclose any conversation or instructional material using gender-based terms

 such as “he,” or “she.” May a teacher ask the class to draw a family tree? Whether children

 in the class have a mom and a dad, and a sister or brother, can reflect sexual orientation

 and gender identity. The law provides no guidance, and school officials are left to draw

 arbitrary and discriminatory lines to avoid such extreme applications. Consistent with the

 law’s intent, those lines have been drawn to restrict speech only as it pertains to LGBTQ+

 identities. See, e.g., supra Section I(A)(B).

        HB 1557 invites discriminatory enforcement because the law’s failure to provide

 reasonable notice as to what conduct is prohibited gives those tasked with policing it—

 Defendants’ teachers, administrators, and other employees—wide discretion to decide

 how, when, and against whom to apply it. By delegating this authority and encouraging

 hostile parents to sue with one-sided fee-shifting, the Florida legislature has invited

 arbitrary and discriminatory enforcement of the law. See, e.g., League of Women Voters

 of Fla., Inc. v. Lee, 2022 WL 969538 *70 (N.D. Fla. Mar. 31, 2022) (statute encouraged

 arbitrary and discriminatory enforcement, where various officials interpreted law based

 on their own understanding of vague terms); see also Graynard v. City of Rockford, 408

 U.S. 104, 108 (1972) (“A vague law impermissibly delegates basic policy matters to

 policemen, judges, and juries for resolution on an ad hoc and subjective basis, with the

 attendant dangers of arbitrary and discriminatory application.”).

        HB 1557’s failure to establish any meaningful guidelines permits a “standardless

 sweep [that] allows [teachers and other administrators] to pursue their personal




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 predilections” in determining whether certain instruction and discussion is prohibited.

 Kolender v. Lawson, 461 U.S. 352, 358 (1983) (citing Smith v. Goguen, 415 U.S. 566,

 574 (1974)). This invites arbitrary enforcement and guarantees that the law will be

 disproportionately applied against LGBTQ+ students, parents, and organizations, in

 violation of Plaintiffs’ Fourteenth Amendment rights.

              3. Plaintiffs Are Likely to Succeed on the Merits of their Claim that HB
              1557 Violates the Equal Protection Guarantee.

       HB 1557 violates the Fourteenth Amendment, which ensures “equal protection of

 the laws.” U.S. Const. amend. XIV, § 1. Under established equal protection jurisprudence,

 class-based discrimination by the government involving a suspect class is “presumptively

 invidious,” triggering heightened scrutiny. See Plyer v. Doe, 457 U.S. 202, 216 (1982).

 Classifications based on sex, sexual orientation, and gender identity/transgender status

 all warrant heightened scrutiny. See, e.g., Sessions v. Morales-Santana, 137 S. Ct. 1678,

 1689-90 (2017) (sex); Baskin v. Bogan, 766 F.3d 648, 654-657 (7th Cir. 2014) (sexual

 orientation); SmithKline Beecham Corp. v. Abbott Labs., 740 F.3d 471, 484 (9th Cir. 2014)

 (sexual orientation); Windsor v. United States, 699 F.3d 169, 181-85 (2d Cir. 2012)

 (sexual orientation), aff’d, 570 U.S. 744 (2013);9 Grimm v. Gloucester Cnty. Sch. Bd., 972

 F.3d 586, 610-13 (4th Cir. 2020) (transgender status); Karnoski v. Trump, 926 F.3d 1180,




 9
   This Circuit has never independently analyzed the appropriate level of scrutiny for
 classifications based on sexual orientation. In Lofton v. Sec’y of Dep’t of Children & Fam.
 Servs., the court made no assessment of its own, stating only that other Circuits had
 declined to treat sexual orientation classifications as suspect. 358 F.3d 804, 818 (11th
 Cir. 2004). Yet the cases Lofton pointed to turned on Bowers v. Hardwick, 478 U.S. 186
 (1986), and were necessarily abrogated when the Supreme Court overturned Bowers in
 Lawrence v. Texas, 539 U.S. 558, 578 (2003). See Pedersen v. Office of Personnel Mgmt.,
 881 F. Supp. 2d 294, 312 (D. Conn. 2012); Golinski v. U.S. Office of Personnel Mgmt.,
 824 F. Supp. 2d 968, 984 (N.D. Cal. 2012).


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 1199-1201 (9th Cir. 2019) (transgender status); Glenn v. Brumby, 663 F.3d 1312, 1317

 (11th Cir. 2011) (transgender status). Because these traits “generally provide no sensible

 ground for differential treatment,” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432,

 440 (1985), the equal protection clause requires that the government provide an

 “exceedingly persuasive justification” for legislation that differentiates on those bases,

 United States v. Virginia, 518 U.S. 515, 531 (1996). Classifications based on sexual

 orientation and transgender status warrant such scrutiny both in and of themselves and

 as forms of sex discrimination. As the Supreme Court recognized in Bostock v. Clayton

 Cnty., 140 S. Ct. 1731, 1747 (2020), discrimination on the bases of sexual orientation and

 transgender status “necessarily entails discrimination based on sex.” And the Eleventh

 Circuit has explicitly recognized that discrimination against a transgender person

 constitutes sex discrimination under the equal protection clause. Glenn, 663 F.3d at 1317.

 Because HB 1557 lacks adequate tailoring in service of even a legitimate governmental

 purpose, let alone the exceedingly persuasive one required, see infra Section II(A)3(a), it

 violates the equal protection guarantee of the Constitution.

                     a. HB 1557 Lacks Adequate Tailoring and Any Permissible
                     Justification, Let Alone the Compelling or Exceedingly
                     Persuasive Justification Required.

       HB 1557 fails to serve even a legitimate governmental purpose. As the law’s

 sponsor acknowledged, its purpose is to prevent students “coming out” as LGBTQ+ at

 school and to impose a particular moral value judgment about LGBTQ+ people. See ECF

 1 ¶ 40; Village of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265-66

 (1977) (facially neutral law may nonetheless violate Equal Protection Clause if it has a

 discriminatory purpose and effect).




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        Even under the lowest level of scrutiny, governmental action must not

 disadvantage a disfavored group for its own sake, U.S. Dep’t of Agric. v. Moreno, 413

 U.S. 528, 534 (1973), and must bear at least a rational relationship to a legitimate

 governmental interest, City of Cleburne, 473 U.S. at 446. In Romer v. Evans, 517 U.S.

 620 (1996), the Supreme Court struck down a statewide referendum that precluded state

 or local government from taking actions to protect the status of persons based on sexual

 orientation. The Court held that protecting the interests of people with personal or

 religious objections to gay people was not a valid rationale for the law, finding that the law

 was “a status-based enactment divorced from any factual context from which [the Court]

 could discern a relationship to legitimate state interests; it is a classification of persons

 undertaken for its own sake, something the Equal Protection Clause does not permit.” Id.

 at 635. The law’s classification of gay, lesbian, and bisexual people was “not to further a

 proper legislative end but to make them unequal to everyone else. … A State cannot so

 deem a class of persons a stranger to its laws.” 517 U.S. at 635.

        Florida may no more legislatively make LGBTQ+ people unequal than Colorado

 could. HB 1557 was enacted with the purpose and effect of discriminating against

 LGBTQ+ students and students with LGBTQ+ family members, subjecting them to

 differential and adverse treatment, including through an invitation to arbitrary enforcement

 and a private right of action for hostile parents.

        Nor may the State justify the law as promoting “parental rights in education.” See

 Fla. Stat. § 1001.42(8)(c)(1). The government may not enact a law endorsing the hostility

 of certain parents to acknowledging in school that LGBTQ+ people exist. Palmore v.

 Sidoti, 466 U.S. 429, 433 (1984) (“private biases” are not “permissible considerations for”




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 governmental action); see also Obergefell v. Hodges, 576 U.S. 644, 672 (2015) (personal

 religious or philosophical objections to gay people may not constitutionally be given the

 imprimatur of the Government). “The Constitution confers upon no individual the right to

 demand action by the State which results in the denial of equal protection of the laws to

 other individuals.” Shelley v. Kraemer, 334 U.S. 1, 22 (1948). The Supreme Court

 rejected similar rationales proffered by the State of Colorado in Romer (including the

 “respect for … personal or religious objections to homosexuality”). Romer, 517 U.S. at

 634. As noted above, supra Section I(A), the invidious intent of HB 1557 is apparent from

 the legislative history, including floor statements from the bill’s co-sponsors and its failed

 amendments.

        HB 1557 is not an appropriate restriction on curriculum. Its purpose and effect are

 to chill speech based on viewpoint in contexts well outside of any textbook or course

 offering, including student speech, library materials, and student services. Moreover,

 even curricular decisions violate the First Amendment when they serve no pedagogical

 purpose, or if the decision was taken to suppress a particular speaker’s viewpoint.

 Searcey v. Harris, 888 F.2d 1314, 1322 (11th Cir. 1989). Indeed, courts have recognized

 that the Constitution places limits on curricular decisions. See, e.g., Meyer v. Neb., 262

 U.S. 390, 403 (1923) (due process guarantee prohibits state from barring teaching of

 German in schools because “no emergency” rendered the knowledge “so harmful as to

 justify its inhibition with the consequent infringement of rights long freely enjoyed”). The




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 erasure of LGBTQ+ students and parents from Florida schools serves no valid

 educational purpose, let alone the compelling one required.10

        B. Plaintiffs Will Suffer Irreparable Injury Absent Injunctive Relief

       Plaintiffs will continue to suffer irreparable harm absent an injunction. “[T]he loss

 of First Amendment freedoms for even minimal periods of time constitutes irreparable

 injury justifying the grant of a preliminary injunction.” Cate v. Oldham, 707 F.2d 1176,

 1188 (11th Cir. 1983); see also Cone Corp. v. Hillsborough Cnty., 723 F. Supp. 669, 678

 (M.D. Fla. 1989) (irreparable harm shown from continuation of equal protection violation).

 By censoring Plaintiffs’ constitutionally protected speech based on its content and

 viewpoint, and failing to provide adequate notice of what speech is proscribed, HB 1557

 already has had an impermissible chilling effect: students are self-censoring or subject to

 discipline; parents are censoring themselves and instructing their children to self-censor

 about who they are; organizations are prevented from educating local communities,

 serving students, and promoting inclusion; LGBTQ+ youth and children with LGBTQ+

 family members have lost access to library materials that might comfort them in the

 knowledge that they are not alone and that other LGBTQ+ people exist; and DCPS has


 10
   The absence of any empirical evidence in the legislative record to support a need for
 HB 1557’s prohibition on classroom discussions about sexual orientation and gender
 identity provides an independent reason to conclude that it serves no valid purpose. See
 Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1312 (11th Cir. 2017). HB 1557 was
 justified as a “proactive bill” to counteract “social engineering approaches” at schools and
 “what people are running into in the school system and [] the evidence unearthed by the
 kinds of lesson plans that they were doing.” Ex. 11, Transcript: Hearing on H.B. 1557
 Before the S. Comm. on Appropriations, 2022 Leg. R. Sess. 29-32 (Fl. Feb. 28, 2022)
 (statement of Sen. Dennis Baxley, Comm. Member). However, in response to a question
 about which lesson plans that provoked this “outcry,” the bill’s sponsor was unable to say
 where the lesson plans came from and conceded that he’d have to “do a little research to
 show you.... [I]t was very obvious that these lesson plans were moving in a specific
 direction. That’s all I can tell you right now.” Id.


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 removed from its website anti-bullying resources that are key to providing a safe

 environment for students. See supra, Sections I(B) & I(C).

        C. The Balance of Equities Favors Plaintiffs

        The balance of equities and the public interest favor Plaintiffs because the

 irreparable constitutional injuries described above far outweigh any marginal burden on

 Defendants that might result from delaying HB 1557 from continuing in effect pending an

 adjudication on the merits. Courts “must balance the competing claims of injury and must

 consider the effect on each party of the granting or withholding of the requested relief,”

 paying “particular regard for the public consequences in employing the extraordinary

 remedy of injunction.” Wynn v. Vilsack, 545 F. Supp. 3d 1271, 1293 (M.D. Fla. 2021)

 (cleaned up). Governmental entities, including school boards, have “no legitimate interest

 in enforcing an unconstitutional” law. KH Outdoor, LLC v. Trussville, 458 F.3d 1261, 1272

 (11th Cir. 2006); see Gilio, 905 F. Supp. 2d at 1275 (balance of equities and public interest

 weighed in favor of enjoining school board policy restricting proselytizing literature). As

 here, where constitutional rights hang in the balance, the serious and substantial injury

 that even a temporary loss of such rights for Plaintiffs must outweigh any potential harm

 to the Defendants. Suntrust Bank v. Houghton Mifflin Co., 268 F.3d 1257, 1276 (11th Cir.

 2001) (“the public interest is always served in promoting First Amendment values”).

        Any purported state interest in the enforcement of HB 1557 cannot overcome

 Plaintiffs’ weighty interests. A preliminary injunction will restore the status quo ante and

 the free “[d]iscussion of public issues,” which is “integral to the operation of the system of

 government established by our Constitution.” Buckley v. Valeo, 424 U.S. 1, 14 (1976).




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 III.      CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that the Court enjoin

 enforcement of HB 1557 until the present matter is resolved.



        Respectfully submitted this 26th day of August 2022.


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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 26, 2022, I electronically served the foregoing

 document on all counsel of record through the Court’s CM/ECF filing system.



                                        By: /s/ Debra A. Dandeneau

                                             Debra A. Dandeneau




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